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                                      EXHIBIT A
              In re New Century TRS Holdings, Inc. Case No. Case No. 07-10416-KJC (Chap. 11)
      Motion filed by Deutsche Bank National Trust Company, as Trustee c/o Ocwen Loan Servicing, LLC

                                     Original         Principal        Interest
Note Date         Obligors                                                        Property Address
                                     Obligee         Note Amount      Rate (in %)
                                     New Century                                  3900 Prospect Street,
                  Alejandra
July 20, 2005                        Mortgage         $213,920.00       6.525     Las Vegas, NV
                  Pimentel
                                     Corporation                                  89108
                                     New Century
                  Alejandra R.                                                      2521 Topaz Court,
August 23, 2005                      Mortgage           $604,000           7.0
                  Balboa                                                            Oxnard, CA 93030
                                     Corporation
                                     New Century                                    877 Devonshire
                  Alexander Orlov
August 24, 2005                      Mortgage         $348,397.00         7.950     Lane, Lincoln, CA
                  and Raisa Orlov
                                     Corporation                                    95648
                  Amy M. Bailey      New Century
                                                                                    1415 West 8th Street,
August 25, 2005   and Grant J.       Mortgage         $152,000.00          6.6
                                                                                    Medford, OR 97501
                  Bailey             Corporation
                                     New Century                                    6400 Lindley Ave.,
August 25, 2006   Ana M. Sorto       Mortgage          $99,000.00         9.990     Reseda Area, CA
                                     Corporation                                    91335
                                     New Century
February 24,                                                                        693 Balfour Drive,
                  Angelina Medina    Mortgage         $280,000.00         8.975
2006                                                                                San Jose, CA 95111
                                     Corporation
                                     New Century                                    718 Edgar Ave.,
April 13, 2006    Antonio Torres     Mortgage           $212,000          8.675     Beaumont, CA
                                     Corporation                                    92223
                                     New Century
                                                                                    27 Beverly Drive,
March 4, 2006     Ayeshia Rivera     Mortgage           $327,200          6.375
                                                                                    Vallejo, CA 94591
                                     Corporation
                                     New Century                                    158 Whitson Dr.,
                  Carl and Glenda
April 17, 2006                       Mortgage          $97,200.00         7.725     Elizabethton, TN
                  Arwood
                                     Corporation                                    37643
                                     New Century
                  Christopher                                                       2S161 Ivy Lane,
March 13, 2006                       Mortgage         $280,000.00         9.275
                  Forbes                                                            Lombard, IL 60148
                                     Corporation
                                     New Century
                                                                                    2428 Kacie Lane, St.
April 13, 2006    Christos Laware    Mortgage         $448,000.00         9.150
                                                                                    Augustine, FL 32084
                                     Corporation
                                     New Century                                    9151 Orion Avenue,
April 14, 2006    Cleotilde Chavez   Mortgage         $464,000.00         7.500     North Hills Area,
                                     Corporation                                    CA 91343
                  Daniel Sanchez     New Century                                    149 West Hillsdale
August 8, 2005    and Beverly        Mortgage         $391,200.00         6.825     Street, Inglewood,
                  Sanchez            Corporation                                    CA 90302
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                                      Original         Principal         Interest
Note Date         Obligors                                                          Property Address
                                      Obligee         Note Amount       Rate (in %)
                                      New Century                                   6656 Vanburn Place,
July 29, 2005     Donether Barnes     Mortgage            $110,320.00     7.425     Merrillville, IN
                                      Corporation                                   46410
                                      New Century                                   3799 Dawsonia
                  Fred E. Sams, Sr.
March 10, 2006                        Mortgage            $616,000.00      8.30     Street, Bonita, CA
                  and Rose L. Sams
                                      Corporation                                   91902
                                      New Century                                   1827 Sea Spring
August 25, 2005   Hector Riega        Mortgage            $556,000.00     6.125     Drive, Hacienda
                                      Corporation                                   Heights, CA 91745
                                      New Century
                  Jacqueline                                                           139 Mickler Drive,
March 17, 2006                        Mortgage            $23,400.00          13.3
                  Watson                                                               Ladson, SC 29456
                                      Corporation
                                      New Century                                      235 State Street
June 27, 2005     Jason C. Benoit     Mortgage            $89,600.00         6.325     #223, Springfield,
                                      Corporation                                      MA 01103
                                      New Century                                      1 Winchester Drive,
August 30, 2005   Javier Martinez     Mortgage            $288,000.00        6.850     Lindenhurst, NY
                                      Corporation                                      11757
                                      New Century                                      3159 North Brook
                  Jeffrey Desler
April 17, 2006                        Mortgage            $169,600.00         7.70     Street, Kingman, AZ
                  and Lisa Desler
                                      Corporation                                      86401
                                                                                       7769 Enderby
                  Jerome Tillman      New Century
February 28,                                                                           Avenue E,
                  and Brenda          Mortgage            $152,000.00        7.625
2006                                                                                   Jacksonville, FL
                  Tillman             Corporation
                                                                                       32244
                                      New Century                                      5643/5645 Sixth
September 6,      Joseph X.
                                      Mortgage            $127,200.00        7.100     Avenue, Fort Myers,
2005              Pranckevicus
                                      Corporation                                      FL 33907
                                      New Century                                      357 North 3220
July 27, 2005     Joshua K. Glazier   Mortgage            $168,920.00        6.175     West, Hurricane, UT
                                      Corporation                                      84737
                                      New Century                                      2468 Hysler Street,
July 29, 2005     Juan Borbon         Mortgage            $86,999.80         10.100    East Meadow, NY
                                      Corporation                                      11554
                                      New Century                                      2468 Hysler Street,
August 25, 2005   Juan Borbon         Mortgage            $347,999.00        6.725     East Meadow, New
                                      Corporation                                      York, NY 11554
                                      New Century                                      3248 West 88th
April 11, 2006    Justin Suesse       Mortgage            $21,000.00         10.100    Street, Cleveland,
                                      Corporation                                      OH 44102
                                      New Century                                      3400 West 85th
April 11, 2006    Karen Anderson      Mortgage            $448,000.00        7.450     Street, Inglewood,
                                      Corporation                                      CA 90305



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                                    Original          Principal         Interest
Note Date         Obligors                                                         Property Address
                                    Obligee          Note Amount       Rate (in %)
                                    New Century                                    2111 North 94th
                  Khristene
April 5, 2006                       Mortgage             $331,200.00     9.625     Glen, Phoenix, AZ
                  Guadalupe
                                    Corporation                                    85037
                                    New Century                                    471 & 473 Ocean
March 24, 2006    Lorre McAninch    Mortgage             $536,000.00     7.970     View Avenue, Pismo
                                    Corporation                                    Beach, CA 93449
                                    New Century                                    23 Tyson Lane,
                  Luis Colon and
July 18, 2005                       Mortgage             $208,000.00     6.850     Jersey City, NJ
                  Methabel Colon
                                    Corporation                                    07304
                                    New Century                                    168 Majorca Circle,
April 6, 2006     Maria Navarro     Mortgage             $240,000.00      7.70     Sacramento, CA
                                    Corporation                                    95823
                                    New Century
                  Meena Vu and                                                       876 Lily Avenue,
August 13, 2005                     Mortgage              $340,082          6.775
                  Malina Vu                                                          Sanger, CA 93657
                                    Corporation
                                                                                     15611 Meigs
                  Michael McCann    New Century
                                                                                     Boulevard,
March 6, 2001     and Gayla         Mortgage             $100,000.00        10.25
                                                                                     Brookpark, OH
                  McCann            Corporation
                                                                                     44142
                                     New Century                                     2139 Yellowstone
March 16, 2006    Michalyn Jacobs    Mortgage            $488,000.00        7.225    Avenue, Tracy, CA
                                     Corporation                                     95377
                                     New Century                                     2890 East Artesia
April 21, 2006    Nyasha Bralock     Mortgage            $200,000.00        9.275    25, Long Beach, CA
                                     Corporation                                     90805
                                     New Century                                     9327 Helmsley
                  Omar H.
August 31, 2005                      Mortgage            $124,000.00        7.550    Drive, Cordova, TN
                  Abushamma
                                     Corporation                                     38106
                                     New Century
                                                                                     581 East 1st Street,
April 7, 2006     Paul Johnson       Mortgage            $264,000.00        9.225
                                                                                     Lowell, OR 97452
                                     Corporation
                                     New Century
                                                                                     512 West 57th Street,
April 27, 2006    Porter Randle, Jr. Mortgage            $148,800.00        8.575
                                                                                     Chicago, IL 60621
                                     Corporation
                                     New Century                                     100 Walter Hill
                  Richard A.
April 4, 2006                        Mortgage            $156,000.00        8.625    Road, Naples, ME
                  Davidson
                                     Corporation                                     04055
                  Richard L. Willits New Century                                     553 Fork Mesa
March 31, 2006    and Jana K.        Mortgage            $228,000.00        8.950    Court, Henderson,
                  Willits            Corporation                                     NV 89015
                                     New Century
                                                                                     353 Shepherd Ave.,
March 30, 2006    Ricky Maraj        Mortgage             $320,000          8.700
                                                                                     Brooklyn, NY 11208
                                     Corporation



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                                     Original         Principal         Interest
Note Date         Obligors                                                         Property Address
                                     Obligee         Note Amount       Rate (in %)
                                     New Century
                  Ricky                                                              347 W. 109th Street,
August 24, 2005                      Mortgage             $112,000           7.8
                  Wetherspoon                                                        Chicago IL 60628
                                     Corporation
                                     New Century                                     461 Hunter Circle,
                  Romel Erazo and
April 7, 2006                        Mortgage            $127,200.00        8.175    Kissimmee, FL
                  Sandra E. Erazo
                                     Corporation                                     34758
                                     New Century
                  Roxana A.                                                          12430 SW 217 St.,
April 3, 2006                        Mortgage            $263,200.00        7.125
                  Dorestes                                                           Miami, FL 33170
                                     Corporation
                                     New Century                                     35978 Meriwether
April 19, 2006    Savita Trivedi     Mortgage            $608,000.00        8.750    Way, Murrieta, CA
                                     Corporation                                     92562
                                     New Century
                                                                                     14929 Fisher Road,
August 17, 2005   Shannon Shuck      Mortgage            $104,000.00         6.7
                                                                                     Tampa, Fl 33613
                                     Corporation
                                                                                     1240 South Missouri
                                     New Century
                  Sharon L. Stuebi                                                   Avenue #413,
April 13, 2006                       Mortgage            $93,524.00         7.950
                  Williams                                                           Clearwater, FL
                                     Corporation
                                                                                     33756
                                                                                     8700 SW Curry
                                     New Century
September 1,      Stephenie R.                                                       Drive, Unit B,
                                     Mortgage            $148,800.00        6.50
2005              Prowell                                                            Wilsonville, OR
                                     Corporation
                                                                                     97070
                  Tomesha            New Century
                                                                                     381 Cedarcliff Road,
August 24, 2005   Marshea            Mortgage            $93,600.00         7.300
                                                                                     Antioch, TN 37013
                  Jefferson          Corporation
                                     New Century                                     24061 Safiro Court,
August 22, 2005   Willie Johnson     Mortgage            $472,000.00         7.9     Wildomar, CA
                                     Corporation                                     92595




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